Case: 6:04-cv-00015-KKC Doc #: 1 Filed: 01/14/04 Page: 1 of 10 - Page ID#: 1




   MICHAEL H. WEISSER,
   801 N.E. 167thStreet, 2”dFloor
   North Miami Beach, FL 33162

          PLAINTIFF,

   V.

   CPH ASSOCIATES LIMITED PARTNERSHIP,
   6312 Kingston Pike           SERVE:                        C T Corporation System
   Suite C                                                    Kentucky Home Life Bldg.
   Knoxville, TN 37919                                        Louisville, Kentucky 40202

   and

   WAL-MART REAL ESTATE BUSINESS TRUST,
   702 S.W. 8thStreet           SERVE:                        CSC-Lawyers Inc.
   Bentonville, AR 72716                                      Services Co.
                                                              421 W. Main Street
                                                              Frankfort, Kentucky 4060 1

          DEFENDANTS.
   -~


                                        COMPLAINT


          The Plaintiff, Michael H. Weisser (“Weisser”), for his complaint against

   Defendants, CPH Associates Limited Partnership (“CPH’) and Wal-Mart Real Estate

   Business Trust (“Wal-Mart”), pleads as follows:

                                    NATURE OF CASE

          1.     This civil action is brought pursuant to Title 28 U.S.C.   3 2201 and Rule 57
   of the Federal Rules of Civil Procedure. Weisser seeks declaratory relief as to his rights

   and obligations with regard to a “Purchase Agreement” entered into by Weisser and

   Defendant CPH for the purchase of real property. Defendant CPH’s failure to honor the


                                               1
Case: 6:04-cv-00015-KKC Doc #: 1 Filed: 01/14/04 Page: 2 of 10 - Page ID#: 2



   Purchase Agreement constitutes a breach of contract. An actual controversy now exists

   between the parties.

                                               PARTIES

          2.      Upon commencement of this action and at all times relevant, Weisser was

   a resident of North Miami Beach, Florida.

           3.      Upon commencement of this action and at all times relevant, the

   Defendant CPH was a limited partnership organized and existing under the laws of the

   Commonwealth of Kentucky, and is engaged in the business of real estate management

   and commercial construction, and has its principal place of business at 6312 Kingston

   Pike, Suite C, Knoxville, Tennessee 37919.

           4.      Upon commencement of this action and at all times relevant, the

   Defendant Wal-Mart was a business trust organized and existing under the law of

   Delaware and has its principal place of business at 702 S.W. 8" Street, Bentonville,

   Arkansas 72716.

                                           JURISDICTION

           5       As stated above, there is and was at all times relevant complete diversity

   of citizenship between the parties upon commencement of this action and at all times

   relevant to this action.

           6       The Purchase Agreement entered into between Weisser and CPH was for

   the purchase of certain commercial property located in Hazard, Perry County, Kentucky,

   and the amount in controversy between the parties exceeds seventy-five thousand dollars

   ($75,000.00), exclusive of interest and costs.




                                                2
Case: 6:04-cv-00015-KKC Doc #: 1 Filed: 01/14/04 Page: 3 of 10 - Page ID#: 3



            7.    Based upon the foregoing allegations, this Court would have jurisdiction

   over this subject matter in this action pursuant to Title 28 U.S.C.   5 1332.
                                                 VENUE

            8.     As stated above, there is now existing between the parties involved in this

   proceeding an actual justiciable controversy involving real property located in Hazard,

   Perry County, Kentucky, in which Weisser is entitled to have a declaration of his rights

   and further relief, including a mandatory injunction and specific performance due to the

   facts, conditions, and circumstances as subsequently set forth in this complaint.

            9.     Based upon the foregoing allegations, this Court would be the proper

   venue for the filing of this action.

                                          STATEMENT OF FACTS

            10.    On or about November 27, 2002, CPH and the Wal-Mart entered into a

   Lease Agreement (“the Wal-Mart Lease”) under which Wal-Mart leased from CPH

   certain real estate, buildings, and improvements (“Demised Premises”) located in Hazard,

   Perry County, Kentucky. A copy of the Wal-Mart Lease and its exhibits is attached

   hereto as “Exhibit A” and incorporated by reference. Wal-Mart prepared the Wal-Mart

   Lease.

            11.    Contained in the Wal-Mart Lease at Paragraph 32, Section N on page 19,

   is a provision that provides as follows:

            In the event Lessor enters into an agreement to sell the Demised Premises to an
            unrelated third party (said agreement is hereafter referred to as the “Sales
            Agreement”), it shall give Lessee a Right-of-First-Refusal to purchase the
            Demised Premises, on the same terms and conditions provided in the Sales
            Agreement. Lessee shall have twenty (20) days after receipt of a copy such
            agreement to exercise such right, which Lessee shall do by executing and
            delivering to Lessor an agreement containing the same business terms and
            conditions as the Sales Agreement. If Lessee shall not deliver such executed


                                                 3
Case: 6:04-cv-00015-KKC Doc #: 1 Filed: 01/14/04 Page: 4 of 10 - Page ID#: 4



          agreement to Lessor within such twenty (20) days, then Lessee shall be deemed to
          have failed to exercise such right with respect to the Sales Agreement.

          12.     Pursuant to this Wal-Mart Lease provision, Wal-Mart would have twenty

   (20) days after receiving a copy of such Sales Agreement to exercise its Right-of-First-

   Refusal, which it would do by executing and delivering to CPH an agreement “containing

   the same business terms and conditions” as the Sales Agreement.

          13.     On or about October 28, 2003, Weisser and CPH entered into an

   Agreement of Purchase and Sale whereby CPH agreed to sell and convey to Weisser the

   same Demised Premises located in Hazard, Perry County, Kentucky, which were the

   subject of the Wal-Mart Lease. A copy of the Agreement of Purchase and Sale and its

   exhibits is attached hereto as “Exhibit B” and incorporated by reference within numerical

   paragraph 11 of this complaint.

          14.     The Agreement of Purchase and Sale (Exhibit B) constituted a bona fide

   offer to purchase as provided for under the terms of the Wal-Mart Lease, Section N as

   described above.

          15.     The Agreement of Purchase and Sale between Weisser and CPH made

   reference to the provision in the Wal-Mart Lease with respect to Wal-Mart’s option and

   thus contains a provision (the language of which was drafted by seller) entitled “Right-of-

   First-Refusal”, which recites that Wal-Mart has a right-of-first-refusal to purchase the

   Demised Premises as specified and outlined in the Wal-Mart Lease (Exhibit A). Pursuant

   to such right-of-first-refusal to purchase the Demised Premises, Wal-Mart was required to

   make a mirror offer; that is, on the “same business terms and conditions” as contained in

   the bona fide offer to purchase from the purchaser.




                                               4
Case: 6:04-cv-00015-KKC Doc #: 1 Filed: 01/14/04 Page: 5 of 10 - Page ID#: 5



          16      On or about November 11,2003, Weisser received a phone call from CPH

   advising that Wal-Mart had submitted a counteroffer to purchase the Demised Premises.

   Attached hereto and incorporated by reference herein is a copy of a partially executed

   Purchase Agreement ("Exh. C"), which represents a proposed purchase by Wal-Mart of

   the Demised Premises from CPH. Weisser immediately requested that CPH provide him

   with a copy of the proposed contract from Wal-Mart in order to review the terms and

   conditions of the Wal-Mart proposal. Weisser received and reviewed the Wal-Mart

   proposal contract.

          17.     The proposed Purchase Agreement between Wal-Mart and CPH does not

   contain the same business terms and conditions as the Agreement of Purchase and Sale

   between Weisser and CPH. In fact, the Wal-Mart offer falls far short of the beneficial

   terms in favor of the seller than are contained in the Weisser/CPH contract versus the

   Wal-Mart/CPH contract, and as such the proposal by Wal-Mart does not meet even a

   minimum criteria to constitute a valid exercise of the right-of-first-refusal granted to Wal-

   Mart in the Wal-Mart Lease. As examples of how the contracts differ, and how onerous

   the Wal-Mart proposal is as compared to the Weisser proposal, are the following:

          A.      Under the Wal-Mart proposal, Wal-Mart has a sixty (60) day right of

                  inspection and may withdraw from the contract anytime during the sixty

                  (60) days. In the Weisser contract, however, there is no inspection period,

                  Weisser having accepted the premises and the condition of title

                  unconditionally.

          B.      Wal-Mart provides that if, in fact, Wal-Mart defaults under the contract

                  with CPH, that the contract is cancelled. The Weisser contract provides



                                                 5
Case: 6:04-cv-00015-KKC Doc #: 1 Filed: 01/14/04 Page: 6 of 10 - Page ID#: 6



                 that Weisser's $500,000.00 good faith deposit is forfeited to CPH in the

                 event of a default by Weisser.

           C.    The Wal-Mart contract requires CPH to make representations regarding

                 the environmental condition of the property now and in the future and

                 requires that CPH remain obligated for any costs necessary to remediate

                 the environmental problems. The Weisser contract does not require CPH

                 to make any environmental representations, nor does it place any liability

                 on CPH to remediate any environmental problems now or in the future.

           D.    Under the Wal-Mart proposal, Wal-Mart proposes to put $500,000.00 up

                 in a deposit or in a letter of credit, but in favor of an estoppel agent.

                 Under the Weisser proposal, Weisser has executed and delivered to CPH a

                 $500,000.00 Irrevocable Letter of Credit.

           18.   While there are numerous other instances in which the contracts diverge,

   the above examples represent some of the major differences, and clearly mandate that

   Wal-Mart has failed to make a proper bona fide offer as required by Wal-Mart's own

   language and terminology in the option that Wal-Mart drafted.        Thus, Wal-Mart's

   counteroffer should be rejected and the Weisser contract given full force and effect by

   this court.

           19.   Immediately after receiving the Wal-Mart proposal, and twenty (20) days

   having expired from the time of the contract between Weisser and CPH was executed,

   Weisser delivered to CPH the $500,000.00 Irrevocable Letter of Credit in favor of CPH

   in the form which the seller, CPH, approved (a copy of which is attached hereto and

   incorporated herein as "Exhibit D ) , and also notified CPH that it was Weisser's belief




                                              6
Case: 6:04-cv-00015-KKC Doc #: 1 Filed: 01/14/04 Page: 7 of 10 - Page ID#: 7



   that the Wal-Mart proposal did not comform with the requirements of the buyhell option

   granted to Wal-Mart in the Wal-Mart Lease (See “Exhibit E attached hereto).

                                     COUNT I
                              (DECLARATION OF RIGHTS)

          20.    Weisser adopts, reiterates, and incorporates by reference all facts and

   allegations contained in paragraphs 1 through 19 above.

          21.    Weisser has notified CPH that CPH’s execution of the Purchase

   Agreement with Wal-Mart is an invalid exercise of the Right-of-First-Refusal granted to

   Wal-Mart in the Wal-Mart Lease, and that CPH should proceed to honor and comply

   with the terms of the Agreement of Purchase and Sale.

          22.    CPH has refused, and continues to refuse, to comply with the terms of the

   Agreement of Purchase and Sale between Weisser and CPH.

          23.     CPH has advised that it intends to proceed to convey and transfer the

   Demised Premises pursuant to an agreement with Wal-Mart.

          24.    Weisser has performed all of the conditions of the Agreement of Purchase

   and Sale that are required to be performed by Weisser andor to otherwise require CPH’s

   performance under their Agreement of Purchase and Sale.

          25.    An actual controversy has arisen and now exists between Weisser and

   Defendants regarding their respective rights and duties under the Agreement of Purchase

   and Sale between Weisser and CPH, and the unexecuted Purchase Agreement between

   CPH and Wal-Mart.

          26.    Weisser desires a judicial determination of his rights and duties under the

   Agreement of Purchase and Sale, and a declaration as to the validity of the Purchase




                                              7
Case: 6:04-cv-00015-KKC Doc #: 1 Filed: 01/14/04 Page: 8 of 10 - Page ID#: 8



   Agreement between Defendants, pursuant to the Right-of-First-Refusal terms in the

   subject agreements.

                                        COUNT I1
                                (SPECIFIC PERFORMANCE)

          27.      Weisser adopts, reiterates, and incorporates by reference all facts and

   allegations set forth in paragraphs 1 through 26 above.

          28.      Weisser has performed all conditions precedent under the Agreement of

   Purchase and Sale between Weisser and CPH; has demanded a conveyance of the

   Demised Premises; and is entitled to specific performance of the Agreement of Purchase

   and Sale, but CPH failed and refused, and still fails and refuses to honor the Agreement

   of Purchase and Sale, or to execute and deliver the Demised Premises to Weisser

   pursuant to the terms of the WeisserKPH contract.

          29.      Weisser has no adequate remedy at law because the Agreement of

   Purchase and Sale is a contract for the sale of real property.

                                       COUNT I11
                                 (BREACH OF CONTRACT)

          30.      Weisser adopts, reiterates, and incorporates by reference all the facts and

   allegations set forth in paragraphs 1 through 29 above.

          3 1.     Weisser has fully performed all the terms, conditions and requirements of

   the contract.

           32.     CPH has breached the terms and has told Weisser that it does not intend to

   honor its obligations therein or convey the property to Weisser.

           33.     By reason thereof, CPH has breached the contract and Weisser has

   sustained damages therein, which damages exceed the sum of $75,000.00.
           Case: 6:04-cv-00015-KKC Doc #: 1 Filed: 01/14/04 Page: 9 of 10 - Page ID#: 9
. . . ..

                                              PRAYER FOR RELIEF

                     WHEREFORE, Plaintiff, Michael H. Weisser, hereby Ldmands relief as follows:

                     1.      A declaration by the court as to the rights and duties of the parties herein

             under the Wal-mart Lease, the Agreement of Purchase and Sale, and the Purchase

             Agreement documents, confirming the superior rights of Weisser under the Agreement of

             Purchase and Sale to acquire the Demised Premesis.

                     2.      An injunction to enjoin Defendants, Wal-Mart and CPH, from proceeding

             to convey the Demised Premises pursuant to the Purchase Agreement.

                     3.      That this court order CPH to perform according to the terms of the

              Agreement of Purchase and Sale between Weisser and CPH, and convey the Demised

              Premises to Weisser.

                     4.      A trial by jury on all genuine issues of material fact, if any.

                     5.      Pursuant to the contract between CPH and Weisser, the contract provides

              for payment of attorney's fees to the prevailing party. Weisser has retained a law firm of

              Farmer, Kelley, Brown, Williams & Breeding, and has agreed to pay them a reasonable

              attorney's fee. Accordingly, Weisser would ask for all costs, expenses and attorney's

              fees that he incurs.

                      6.      For any and all additional relief to which Weisser may appear entitled.




                                                            9
Case: 6:04-cv-00015-KKC Doc #: 1 Filed: 01/14/04 Page: 10 of 10 - Page ID#: 10




                                  Respectfully submitted,

                                   Farmer, Kelley, Brown, Williams & Breeding
                                   502 West Fifth Street
                                   P.O. Drawer 490
                                   London, Kentucky 40743-0490




                                          Counsel for Plaintiff,
                                          Michael H. Weisser

    HFD/cmm: 011304 Complaint




                                          10
